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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,


       v.                                               Criminal Action No. 1:21-cr-00103 (CJN)


ROBERT KEITH PACKER,

               Defendant.


                                               ORDER

       Before the Court is Defendant Robert Packer’s motion to stay his sentence of imprisonment

and remain on personal recognizance pending appeal, which was filed four days before his

voluntary surrender to the Bureau of Prisons. Def.’s Mot. at 2, ECF No. 58. Because Packer has

now begun serving his sentence of imprisonment, the Court construes the motion as a motion for

release pending appeal. The Government opposes, arguing that Packer fails to raise a substantial

question of law or fact that is likely to result in a reduced sentence. Gov’t Opp. at 6–7, ECF No.

60. The Court agrees with the Government and therefore denies the motion.

       Under the Bail Reform Act, “a person who has been found guilty of an offense and

sentenced to a term of imprisonment” and who has filed an appeal challenging his sentence of

imprisonment must be detained pending appeal unless the Court finds, among other things not

disputed here, that the appeal “raises a substantial question of law or fact likely to result in” either

“a sentence that does not include a term of imprisonment” or “a reduced sentence to a term of

imprisonment less than the total of the time already served plus the expected duration of the appeal

process.” 18 U.S.C. § 3143(b). A substantial question is one that is “close” or “very well could

be decided the other way.” United States v. Perholtz, 836 F.2d 554, 555–56 (D.C. Cir. 1987)


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(quotations omitted). And as the Court of Appeals has recognized, “[t]he law has shifted from a

presumption of release” pending appeal. Id. at 556.

       Here, Packer’s appeal raises questions that are not substantial and that are not likely to lead

to a reduced sentence. As summarized in his motion, Packer will raise “sentencing issues that

address whether he received a disproportionately lengthy sentence compared to other defendants”

convicted of the same offense. Def.’s Mot. at 5. More specifically, he plans to raise issues “related

to disparity of sentencing” and whether the Court improperly considered the offensive clothing

that he wore when he committed the offense. Id. at 5–6.

       Appeal of these sentencing issues appears to be foreclosed by the appeal waiver in Packer’s

plea agreement, in which he agreed “to waive the right to appeal the sentence in this case, including

but not limited to any term of imprisonment . . . and the manner in which the sentence was

determined,” unless the Court imposed a sentence “above the statutory maximum or guidelines

range determined by the Court.” Plea Agreement at 5, ECF No. 37. The sentencing guidelines do

not apply here, and the 75-day sentence of imprisonment is well below the statutory maximum of

six months. See U.S.S.G. § 1B1.9 (stating that the sentencing guidelines do not apply to Class B

misdemeanors); 40 U.S.C. § 5109(b) (establishing the statutory maximum for offenses under 40

U.S.C. § 5104(e)(2)(G)). Packer does not argue that the appeal waiver is invalid, and therefore

the issues he intends to raise on appeal will not likely result in a reduced sentence. Further, the

Court carefully considered each of the factors listed in 18 U.S.C. § 3553(a) when determining an

appropriate sentence and imposed a reasonable sentence below the statutory maximum.

       For these reasons, the defendant is not entitled to release pending resolution of his appeal,

and his motion is DENIED.




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DATE: November 3, 2022
                                               CARL J. NICHOLS
                                               United States District Judge




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